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 13 corporate capacity and as successor in interest
 14 to named defendant Twitter, Inc.
 15                       UNITED STATES DISTRICT COURT
 16                      CENTRAL DISTRICT OF CALIFORNIA
 17
 18 ELIZABETH WATERMAN, an                     Case No.: 2:24-cv-04881-SRM-PD
 19 individual; and NY BLACK AND
    GOLD CORPORATION, a California             DEFENDANT’S NOTICE OF
 20 corporation,                               MOTION AND MOTION FOR
 21                                            JUDGMENT ON THE PLEADINGS;
                      Plaintiffs,              MEMORANDUM OF POINTS AND
 22                                            AUTHORITIES IN SUPPORT
 23 v.                                         THEREOF
 24 TWITTER, INC., a Delaware                  Date: July 31, 2025
 25 corporation; X CORP., a Nevada             Time: 1:30 P.M.
    corporation; and DOES 1-10, inclusive,     Place: Courtroom 5D
 26
 27                   Defendants.              Assigned to The Hon. Serena R. Murillo
 28

               DEFENDANTS’ MOTION FOR JUDGMENT ON THE PLEADINGS
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  1 TO THE CLERK OF THE ABOVE-TITLED COURT, ALL PARTIES AND
  2 THEIR ATTORNEYS OF RECORD:
  3        PLEASE TAKE NOTICE THAT, on July 31, 2025, at 1:30 p.m., or as soon
  4 thereafter as the matter may be heard, Defendant X Corp., in its corporate capacity
  5 and also as successor in interest to named defendant Twitter, Inc. (“Twitter”) will,
  6 and hereby does, move the Court to grant Defendant’s Motion for Judgment on the
  7 Pleadings, on the grounds that judgment on the pleadings should be granted because
  8 the Second Amended Complaint filed by Plaintiffs Elizabeth Waterman and her
  9 company NY Black and Gold Corporation (“Plaintiffs”) fails to state a claim for
 10 copyright infringement.
 11        This motion is made pursuant to Federal Rule of Civil Procedure 12(c), and is
 12 based on this Notice of Motion and Motion for Judgment on the Pleadings, the
 13 accompanying Memorandum of Points and Authorities, all pleadings and papers on
 14 file in this action, such other evidence or arguments as may be presented to the
 15 Court, and such other matters of which this Court may take judicial notice.
 16        Under Local Rule 7-3 and section G.1 of Your Honor’s Standing Order,
 17 defendant respectfully files this motion following the June 13, 2025 meet and confer
 18 of the parties’ counsel, during which counsel thoroughly discussed the substance
 19 and potential resolution of the filed motion by videoconference.
 20 Dated: June 20, 2025             WILLENKEN LLP
 21
                                      By: /s/ Kenneth M. Trujillo-Jamison
 22                                       Kenneth M. Trujillo-Jamison
 23                                       Attorneys for Defendant X Corp., in its
                                          corporate capacity and as successor in interest
 24                                       to named defendant Twitter, Inc.
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   1 I.    INTRODUCTION
   2         Plaintiffs’ Second Amended Complaint (“SAC”) focuses entirely on
   3 Twitter’s alleged failure to remove supposedly infringing user posts from its social
   4 media platform.1 The SAC rests on a conclusory theory that “Plaintiffs sent
   5 DMCA take down requests in compliance with the statute” and “Defendants have
   6 stopped honoring” those requests. SAC ¶¶ 17–18. This theory lacks any plausible
   7 factual support, gets the law wrong, and fails on its own terms. The DMCA is not a
   8 means of establishing prima facie copyright liability. Plaintiffs must plead factual
   9 allegations that plausibly establish the required elements of Plaintiffs’ copyright
  10 claim, but they have failed to do so.
  11         The SAC does not plausibly allege that Twitter directly infringed Plaintiffs’
  12 copyrights, because it contains no allegations at all of any volitional conduct by
  13 Twitter. Rather, the SAC alleges, and its Exhibit C confirms, that the alleged
  14 infringement occurred when third-party “users”— not Twitter—uploaded certain
  15 posts to the platform. Allegations that Twitter infringed Plaintiffs’ copyrights
  16 merely by operating its social media platform are insufficient to plausibly allege
  17 direct infringement.
  18         Nor does the SAC plausibly allege that Twitter contributorily infringed the
  19 copyrights. Plaintiffs fail to allege Twitter knew of the supposed infringements, let
  20 alone that it materially contributed to or induced them. Plaintiffs try to impute
  21 knowledge to Twitter by concluding that they “sent DMCA takedown requests in
  22 compliance with the statute.” SAC ¶ 18. But this Court routinely requires more—
  23 Plaintiffs must describe the substance of those notices to sustain a claim. Holding
  24 otherwise would turn the DMCA on its head: instead of immunizing Twitter from
  25 otherwise well-pleaded claims, it would subject Twitter to liability based on
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       1
        Twitter, the online social media platform, has been re-branded as “X.” This brief
       continues to refer to “Twitter” throughout for ease of understanding.
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             DEFENDANT X CORP.’S MOTION FOR JUDGMENT ON THE PLEADINGS
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   1 Plaintiffs’ conclusory assertion that they complied with the statute. Knowledge
   2 aside, Plaintiffs’ failure to plausibly allege that Twitter had the practical ability to
   3 identify and remove the alleged infringements or that it induced the infringement
   4 in any way separately undercut any contributory infringement theory.
   5         The SAC also fails to allege that Twitter is vicariously liable for the
   6 purported infringements. Plaintiffs’ conclusion that Twitter generally controls the
   7 content on its website is insufficient, and the lack of allegations suggesting that it
   8 could curtail the infringement alleged here is dispositive. Separately, the SAC is
   9 devoid of allegations that Twitter derived revenue or any other direct financial
  10 benefit from the specific instances of infringement alleged here.
  11         Finally, the three-year statute of limitations provides a separate dispositive
  12 basis for granting this motion with respect to Photos 1, 4, 6, 8, 9, 10, 11, and 12.
  13 Each of these alleged infringements occurred more than three years before
  14 Plaintiffs initiated this action. The SAC does not allege that Plaintiffs only
  15 discovered these infringements within three years of filing suit, let alone that any
  16 delayed discovery was reasonable enough to warrant tolling the statute of
  17 limitations under the discovery rule.
  18         Accordingly, this Court should grant judgment on the pleadings and dismiss
  19 the SAC with prejudice.
  20 II. BACKGROUND
  21         A.     The Parties
  22         According to the SAC, Plaintiff Elizabeth Grecco Waterman is an American
  23 photographer who “has created many high value photographs throughout her
  24 career, both individually and through NYBG” and has “authored many iconic
  25 images that have generated substantial amounts of money through sales and
  26 publishing.” SAC ¶¶ 4, 10. The SAC alleges that “[a]ll of the Photos were created
  27 by Waterman.” Id. ¶ 13.
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   1         According to the SAC, Plaintiff NY Black and Gold Corporation (“NYBG”)
   2 is a social media company owned and operated by Waterman, “and the resulting
   3 corporation from a 2021 merger with Black and Gold Corporation, a New York
   4 corporation.” Id. ¶ 5. The SAC claims that “NYBG is the successor-in-interest to
   5 all copyrights registered and previously owned by Black and Gold Corporation,”
   6 and that “NYBG is the rightsholder for some of the Photos.” Id. ¶¶ 5, 13.
   7         The SAC names as defendants X Corp. and Twitter, Inc. (Twitter, Inc. was
   8 merged into X Corp. and no longer exists. Because the SAC primarily challenges
   9 conduct allegedly conducted when Twitter, Inc. existed, this brief continues to
  10 refer to “Twitter” for ease of understanding.) Plaintiff alleges that Twitter is “an
  11 internet service provider[]” that allegedly “operat[ed] . . . the social media platform
  12 social media platform [sic] Twitter up until 2022, when it was bought out by X,
  13 and the platform changed its name to X.” Id. ¶¶ 14, 16. On Twitter, “users can send
  14 out (colloquially ‘tweet’) a text-based message or alternatively, can tweet images.”
  15 Id. ¶ 15.
  16         B.    Plaintiffs’ Original Complaint
  17         Plaintiffs filed their original complaint on June 10, 2024, asserting a single
  18 claim against Twitter for direct, contributory, and vicarious copyright
  19 infringement. Dkt. No. 1 (the “Original Complaint”). Plaintiffs alleged that,
  20 beginning in March 2023, they sent a number of “DMCA demands” (“Requests”),
  21 to Twitter regarding user-uploaded images on the platform that allegedly infringed
  22 10 copyrighted works (“Photos”) owned by Plaintiffs. The Original Complaint,
  23 like the FAC and the operative SAC, alleged nothing about the content of the
  24 Requests or when Plaintiffs discovered any infringement.
  25         C.    Plaintiffs’ Amended Complaint
  26         Four days later, Plaintiffs amended their complaint to make a few stylistic
  27 changes and to correct X Corp.’s state of incorporation to Nevada (“FAC”). The
  28 substantive allegations remained identical, so the FAC still contained no
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   1 allegations about the substance of the Requests or when Plaintiffs discovered the
   2 purported infringement.
   3         D.     Defendant’s Answer
   4         On August 8, 2024, Twitter filed its Answer and Affirmative Defenses to
   5 Plaintiffs’ FAC. Dkt. 19 (“Answer”). Among other affirmative defenses, Twitter
   6 asserted that: (i) Plaintiffs’ FAC fails to state facts sufficient to constitute a claim
   7 upon which relief can be granted; and (ii) the three-year statute of limitations bars
   8 many of Plaintiffs’ claims. Dkt 19 at 13–14.
   9         E.     Plaintiffs’ Operative Second Amended Complaint
  10         On January 21, 2025, after obtaining leave of court, Plaintiffs filed the
  11 operative SAC. There, Plaintiffs added a second instance of alleged infringement
  12 for Photo No. 6 (id. ¶ 76), and two more Photos (Photos Nos. 11, 12) that user-
  13 uploaded posts allegedly infringed. Id. ¶¶ 113–33. Like its predecessors, the SAC
  14 contains no allegations concerning the substance of any Requests sent to Twitter
  15 concerning the Photos or when Plaintiffs discovered any purported infringement.
  16 The SAC includes the Photos as Exhibit A, copies of alleged “copyright
  17 registration certificates for the Photos” as Exhibit B, and instances of alleged
  18 infringement as Exhibit C. Id. ¶¶ 11, 12, 17.
  19         For each alleged instance of infringement, the SAC claims that Twitter
  20 “user[s] uploaded [the] Photo[s] to Twitter.” E.g., id. ¶ 32. While the SAC
  21 confusingly claims that its Exhibit C shows “instances of Defendants reproducing,
  22 publicly displaying, and distributing the Photos on Twitter without permission,
  23 license, or authorization,” that exhibit shows only third-party users’ posts, not any
  24 posts or content created by Twitter. Id. ¶ 17. Nor does the SAC contain any
  25 allegations suggesting that Twitter or its employees ever posted, selected for
  26 inclusion, or actually included, any Photos in its services, advertisements, or
  27 features, through automated means or otherwise.
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   1         Plaintiffs concede that, typically, “user-uploaded images are subject to the
   2 safe harbor provision of the Digital Millennium Copyright Act which precludes
   3 liability for copyright infringement by internet service providers such as
   4 Defendants” where certain circumstances are met. Id. ¶ 16. However, Plaintiffs
   5 baselessly claim that “[i]n recent years, Defendants have stopped honoring DMCA
   6 takedown requests and have continued to facilitate copyright infringement despite
   7 repeated DMCA takedown requests, such that Defendants’ conduct removes it
   8 from the safe harbor provided by the DMCA and amounts to copyright
   9 infringement.” Id. ¶ 17. This conclusory and implausible allegation is contradicted
  10 by the SAC itself, which acknowledges that Twitter maintains a designated DMCA
  11 agent. Id. ¶¶ 19–21.2
  12         Along these lines, the SAC concludes that “for each copyrighted image,
  13 Plaintiffs sent DMCA takedown requests in compliance with the statute but—apart
  14 from a few isolated incidents—Defendants took no action to cease their copyright
  15 infringement.” Id. ¶ 18. The SAC contains no allegations concerning the substance
  16 of any Requests sent to Twitter. Instead, the SAC only alleges that “in response” to
  17 Requests concerning ten of the twelve Photos, “Twitter stated that they needed
  18
  19
  20
       See also https://transparency.x.com/en/reports/global-reports/2025-transparency-
       2

  21 report. Twitter also maintains a Copyright Policy providing for removal of certain
  22 posts, and its Terms explicitly require users to warrant that their posts will not
     contain infringing material. https://help.x.com/en/rules-and-policies/copyright-
  23 policy; https://x.com/en/tos; https://x.com/en/tos/previous/version_13. X Corp.
  24 respectfully requests that the Court take judicial notice of these websites, as “this
     Court may judicially notice publicly accessible websites.” Abundant Living Family
  25 Church v. Live Design, Inc, No. 5:22-CV-00140-RSWL-MRWx, 2022 WL
  26 14708949, at *2 (C.D. Cal. Oct. 24, 2022) (collecting cases). Indeed, “[c]ourts
     routinely take judicial notice of terms of service,” including Twitter’s. E.g., Zhang
  27 v. Twitter Inc., No. 23-cv-00980-JSC, 2023 WL 5493823, at *3 (N.D. Cal. Aug.
  28 23, 2023) (collecting cases).
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   1 more information.” SAC ¶¶ 112–132. For the two remaining Photos, the SAC is
   2 silent as to whether Twitter responded.
   3         On March 24, 2025, the parties stipulated that the Answer to Plaintiffs’ FAC
   4 shall serve as its Answer to Plaintiffs’ operative SAC. Dkt 33.
   5         F.     Plaintiffs’ Claim for Relief
   6         Plaintiffs’ sole claim against Twitter is for copyright infringement. Without
   7 differentiating between Defendants or theories of liability, the SAC concludes that
   8 “Defendants directly, vicariously, and/or contributorily infringed.” SAC ¶ 136. The
   9 SAC also alleges that infringement was “willful,” relying solely on Twitter’s “prior
  10 practice of honoring takedown demands.” Id. ¶ 24.
  11 III. LEGAL STANDARD
  12         “‘After the pleadings are closed—but early enough not to delay trial—a
  13 party may move for judgment on the pleadings.’” Lang Van, Inc. v. VNG Corp.,
  14 No. 8:14-cv-00100-FWS-JDE, 2024 WL 5275645, at *2 (C.D. Cal. Oct. 2, 2024)
  15 (citing Fed. R. Civ. P. 12(c)). A defendant may raise a plaintiff’s failure to state a
  16 claim upon which relief can be granted in a Rule 12(c) motion if a responsive
  17 pleading has already been filed.” Aldabe v. Aldabe, 616 F.2d 1089, 1093 (9th Cir.
  18 1980). “Because Rule 12(c) and Rule 12(b)(6) motions are ‘functionally identical,’
  19 the same standard of review applies to motions brought under either rule.” Lang
  20 Van, Inc., 2024 WL 5275645, at *2 (citing Gregg v. Haw., Dep’t of Pub. Safety,
  21 870 F.3d 883, 887 (9th Cir. 2017)).
  22         Accordingly, “[t]he Court inquires whether the complaint at issue contains
  23 ‘sufficient factual matter, accepted as true, to state a claim of relief that is plausible
  24 on its face.’” Harris v. County of Orange, 682 F.3d 1126, 1131 (9th Cir. 2012).
  25 “The Court is not required ‘to accept as true a legal conclusion couched as a factual
  26 allegation.’” Id. (citing Ashcroft v. Iqbal, 556 U.S. at 678 (2009)). Relatedly, the
  27 court need not credit “allegations that contradict exhibits attached to the
  28 [c]omplaint, or matters properly subject to judicial notice, or allegations that are
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   1 merely conclusory, unwarranted deductions of fact, or unreasonable inferences.”
   2 Chandavong v. Fresno Deputy Sheriff’s Ass’n, 599 F. Supp. 3d 1017, 1020 (E.D.
   3 Cal. 2022).
   4 IV. ARGUMENT
   5         A.     Plaintiffs Fail to State A Copyright Infringement Claim Under
   6                Any Theory

   7                1.     Plaintiffs Fail to Plausibly Allege Direct Copyright
                           Infringement
   8
   9         In addition to showing ownership of the Photos and violation of an exclusive
  10 right under 17 U.S.C. § 106, Plaintiffs’ direct infringement theory “requires
  11 [showing] causation (also referred to as ‘volitional conduct’) by the defendant.”
  12 Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657, 666 (9th Cir. 2017) (holding a
  13 platform that displayed user-uploaded images on a message board was not liable
  14 under a direct infringement theory). For a website operator like Twitter, volitional
  15 conduct requires showing that it is “actively involved in the infringement,” “other
  16 than by general operation of its website,” so “the distinction between active and
  17 passive participation in the alleged infringement is central to the legal analysis.”
  18 VHT, Inc. v. Zillow Grp., Inc., 918 F.3d 723, 732 (9th Cir. 2019) (cleaned up).
  19         The Ninth Circuit’s decision in VHT, Inc. forecloses Plaintiffs’ direct
  20 infringement claim. There, the court explained that volitional conduct requires
  21 showing that the defendant “selected” or “instigated” the alleged infringement. Id.
  22 at 732. “By contrast, activities that fall on the other side of the line, such as
  23 automatic copying, storage, and transmission of copyrighted materials, when
  24 instigated by others, do not render an [Internet service provider] strictly liable for
  25 copyright infringement.” Id. Applying this test, the Ninth Circuit found Zillow
  26 liable for direct infringement where “Zillow moderators selected and tagged”
  27 infringing photos, but dismissed claims based on user-uploaded photos because
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   1 “Zillow did not “select” or “control” these photos beyond the “general operation of
   2 its website.” Id.
   3         The SAC does not allege any volitional conduct by Twitter, but rather claims
   4 that each infringement occurred when “a Twitter user uploaded this Photo to
   5 Twitter.” E.g., SAC ¶ 32. Exhibit C to the SAC, which contains only purported
   6 images of posts by third-party users including the Photos, confirms that the alleged
   7 infringement is not based on any volitional conduct by Twitter. Plaintiffs’
   8 conclusory allegations that “Defendants exercise control over which images and
   9 posts are displayed and curated on Twitter,” even if credited as true, would show
  10 only the “general operation of its website” that the Ninth Circuit held is insufficient
  11 to establish volitional conduct. VHT, Inc., 918 F.3d at 733 (rejecting allegations
  12 that Zillow “designed its system to . . . cause[] the reproduction, display, and
  13 adaptation of [the plaintiff's] photographs”).
  14         Indeed, in Stross v. Twitter, Inc., this Court dismissed a direct infringement
  15 claim after holding that far more detailed allegations than those present here failed
  16 to plausibly allege volitional conduct by Twitter. No. 2:21-cv-8360-SVW, 2022
  17 WL 1843142, at *2 (C.D. Cal. Feb. 28, 2022) (allegations that Twitter “designed
  18 its website to algorithmically select content” and “decides what content (including
  19 photographs) is suggested, recommended, and/or displayed to users” were
  20 “insufficient ‘to cross the volitional-conduct line’” established by the 9th Circuit in
  21 VHT Inc.) This Court has reached that same result in copyright infringement cases
  22 brought against other social media website operators, including in a recent case
  23 involving the same plaintiff. Waterman v. TikTok, Inc., No. 2:24-cv-04802-AB-
  24 AJR, 2024 WL 5413655, at *2 (C.D. Cal. Oct. 30, 2024); Michael Grecco Prods.
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   1 v. TikTok, Inc., No. 2:24-cv-04837-FLA (MARx), 2025 U.S. Dist. LEXIS 46287,
   2 at *7 (C.D. Cal. Mar. 12, 2025). 3
   3         In sum, Plaintiffs fail to plausibly allege direct infringement of the Photos by
   4 Twitter.
   5               2.     Plaintiffs Fail to Plausibly Allege Indirect Infringement
   6         Plaintiffs’ contributory and vicarious infringement theories fare no better, as
   7 the SAC fails to plausibly allege facts sufficient to meet the elements required to
   8 state a claim under either a contributory or vicarious liability theory.
   9                      a.     Plaintiffs Fail to Plausibly Allege Contributory
  10                             Infringement

  11         To state a claim based on contributory infringement, Plaintiffs must allege
  12 that Twitter had “[(1)] knowledge of another’s infringement and (2) either (a)
  13 materially contribute[d] to or (b) induce[d] that infringement.” Perfect 10, Inc. v.
  14 Visa Int’l Serv. Ass’n, 494 F.3d 788, 795 (9th Cir. 2007) (emphasis added). The
  15 SAC fails to sufficiently plead either requirement.
  16         First, Plaintiffs must plead “actual knowledge of specific acts of
  17 infringement.” Luvdarts, Ltd. Liab. Co. v. AT&T Mobility, Ltd. Liab. Co., 710 F.3d
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  19   3
         Any suggestion that Twitter failed “to remove the infringing images from its
  20   servers after it received Plaintiff's [notices of copyright infringement] does not
       constitute the volitional conduct necessary for direct copyright infringement.”
  21   Rosen v. Ebay, Inc., No. CV 16-9183-MWF (Ex), 2018 WL 4808513, at *5 (C.D.
  22   Cal. Apr. 4, 2018). Further, even if the SAC sufficiently alleged that Twitter knew
       of the infringing posts (it does not), Twitter’s failure to remove them does not
  23   amount to volitional conduct because the SAC alleges Twitter responded to
  24   Requests for 10 of the 12 Photos by asking for more information. SAC ¶¶ 49, 57,
       65, 73, 79, 87, 95, 103, 111, 118, 124, 131; see In re Long, 854 F. App’x 861, 864
  25   (9th Cir. 2021) (rejecting argument that “failure to promptly remove [plaintiff’s]
  26   posts amounted to volitional conduct” because “we have rejected such failure-to-
       act arguments” where “an online service provider . . . request[ed] further
  27   information from the copyright holder upon being informed of potential
  28   infringement on its website.”).

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   1 1068, 1072 (9th Cir. 2013) (citation omitted and emphasis added); see id.
   2 (dismissing claims because “conclusory allegations that the [defendants] had the
   3 required knowledge of infringement are plainly insufficient”). This high bar
   4 requires “[m]ore than a generalized knowledge . . . of the possibility of
   5 infringement,” and in the context of a service provider like Twitter, “contributory
   6 liability [does] not automatically follow where the ‘system allows for the exchange
   7 of copyrighted material.’” Id.
   8         The SAC contains no allegations about Twitter’s knowledge of any
   9 infringement at issue. See generally SAC. Instead, the SAC concludes that
  10 Plaintiffs “sent DMCA takedown requests in compliance with the statute” (id.
  11 ¶ 18), but this Court has repeatedly found that these kinds of conclusory allegations
  12 fail to plausibly allege actual knowledge on the part of social media platform
  13 operators. Waterman, 2024 WL 5413655, at *3–4; Michael Grecco Prods., 2025
  14 U.S. Dist. LEXIS 46287, at *10. In Waterman and Grecco, this Court correctly
  15 held that alleging that DMCA compliant notices were sent to the defendant without
  16 alleging the “specific details” they contained failed to plausibly allege knowledge
  17 for DMCA purposes. Waterman at *8–9; Grecco at *10. This accords with the
  18 Ninth Circuit’s mandate that actual knowledge must be specifically alleged in non-
  19 conclusory fashion. See Luvdarts, 710 F.3d at 1072.4
  20         Refusing to impute knowledge from bare conclusions of DMCA compliance
  21 recognizes that “the DMCA is irrelevant to determining what constitutes a prima
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         In Stross, Twitter did not dispute that notices the plaintiff sent complied with the
       DMCA’s requirements—it argued it had not received them at all. 2022 WL
  25   1843142, at *5. The court denied Twitter’s argument as a premature factual
  26   question because “it is possible that Twitter’s security software preserved a copy of
       the [compliant notice] for later access, or that an employee could review
  27   attachments prior to their deletion.” The issue here, by contrast, is that Plaintiffs
  28   fail to allege what their purported DMCA notices said—information entirely
       within Plaintiffs’ control.
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   1 facie case of copyright infringement.” CoStar Grp., Inc. v. LoopNet, Inc., 373 F.3d
   2 544, 555 (4th Cir. 2004); see 17 U.S.C. § 512(l) (“The failure of a service
   3 provider’s conduct to qualify for limitation of liability under this section shall not
   4 bear adversely upon the consideration of a defense by the service provider that the
   5 service provider’s conduct is not infringing under this title or any other defense”).
   6 Instead, the DMCA “grants a safe harbor against liability to certain Internet service
   7 providers, even those with actual knowledge of infringement, if they have not
   8 received statutorily-compliant notice.” Visa, 494 F.3d at 795 n.4. At any rate, the
   9 SAC fails to allege that the Requests identified Plaintiffs’ copyrighted works or
  10 provided any information required by 17 U.S.C. § 512(c)(3)(A), so an allegation
  11 that “Defendants’ conduct removes it from the safe harbor” fails on its own terms.
  12 See 17 U.S.C. 512(c)(3)(B) (explaining that, for purposes of the safe harbor, a
  13 notification that fails to comply with enumerated requirements “shall not be
  14 considered . . . in determining whether a service provider has actual knowledge or
  15 is aware of facts or circumstances from which infringing activity is apparent”);
  16 Greg Young Publ’g, Inc. v. Zazzle, Inc., No. 2:16-CV-04857-SVW-KS, 2017 WL
  17 2729584, at *7 (C.D. Cal. May 1, 2017) (“a deficient notice cannot be used to
  18 establish knowledge”). 5
  19         Second, even if the SAC had sufficiently pleaded Twitter’s knowledge (it
  20 did not), it fails to allege that Twitter “materially contributed” to or “induced” the
  21 infringement. To plausibly allege material contribution, Plaintiffs must plead facts
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        The SAC’s conclusory assertions that “Defendants are sophisticated businesses
       with full knowledge of the strictures of federal copyright law” with a “prior
  25   practice of honoring [DMCA] takedown demands” are even further afield from
  26   alleging actual knowledge of the infringement alleged here. ALS Scan, Inc. v.
       Steadfast Networks, Ltd. Liab. Co., 819 F. App’x 522, 524 (9th Cir. 2020) (“The
  27   number of notices that [defendant] previously received . . . does not give notice of
  28   any specific acts of infringement that are actually occurring.”).

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   1 showing that Twitter “can take simple measures to prevent further damage to
   2 copyrighted works, yet continues to provide access to infringing works.”
   3 Giganews, Inc., 847 F.3d at 671 (cleaned up). The SAC contains no such
   4 allegations. Courts routinely dismiss contributory infringement claims where, as
   5 here, plaintiffs fail to plead what simple measures a defendant could have taken.
   6 Waterman., 2024 WL 5413655, at *4 (dismissing claim where plaintiff “alleges no
   7 facts that Defendant had the ability to control the acts of its users or that Defendant
   8 was able to use simple measures to remove the infringing material from its
   9 platform”); Davis v. Pinterest, Inc., No. 19-cv-07650-HSG, 2020 WL 4201681, at
  10 *2 (N.D. Cal. July 22, 2020) (same); Nat’l Photo Grp., LLC v. Allvoices, Inc., No.
  11 C-13-03627 JSC, 2014 WL 280391, at *6 (N.D. Cal. Jan. 24, 2014) (same).
  12         The SAC falls equally short of pleading inducement, which requires facts
  13 that would establish that Twitter “provid[es] a service with the object of promoting
  14 its use to infringe copyright.” Visa, 494 F.3d at 801. “Mere knowledge of
  15 infringing potential or actual infringing uses” is insufficient: “[i]nstead,
  16 inducement premises liability on purposeful, culpable expression and conduct,” so
  17 “it is crucial to establish that the [defendants] communicated an inducing message
  18 to their . . . users, the classic example of which is an advertisement or solicitation
  19 that broadcasts a message designed to stimulate others to commit violations.” Id.
  20 (internal quotation marks omitted). Plaintiffs do not, and cannot, allege that Twitter
  21 solicits users to infringe copyrights on its Platform. To the contrary, Twitter’s
  22 Terms of Service require users to warrant that their posts “will not contain material
  23 subject to copyright or other proprietary rights, unless you have necessary
  24 permission or are otherwise legally entitled to post the material.” See
  25 https://x.com/en/tos/previous/version_13. The SAC’s conclusion that “[o]n
  26 information and belief . . . website traffic translates into substantial ill-gotten
  27 commercial advantage and revenue generation for Defendants as a direct
  28 consequence of their infringing actions,” (SAC ¶ 29), is factually unsupported and
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   1 legally insufficient. Visa Int’l Serv. Ass’n, 494 F.3d at 802 (dismissing claim
   2 because plaintiff “has not alleged any ‘specific acts’ intended to encourage or
   3 induce infringement”).
   4                       b.    Plaintiffs Fail to Plausibly Allege Vicarious Infringement
   5         “To prevail on a claim for vicarious infringement, a plaintiff must prove ‘the
   6 defendant has (1) the right and ability to supervise the infringing conduct and (2) a
   7 direct financial interest in the infringing activity.’” Giganews, Inc., 847 F.3d at
   8 673. The SAC fails to sufficiently plead either element.
   9         First, “the right and ability to supervise the infringing conduct” “requires
  10 both a legal right to stop or limit the directly infringing conduct, as well as the
  11 practical ability to do so.” VHT, Inc., 918 F.3d at 746 (internal quotation marks and
  12 citations omitted). The “pertinent inquiry is not whether [the defendant] has the
  13 right and ability to control its system, but rather, whether it has the right and ability
  14 to control the infringing activity.” Io Grp., Inc. v. Veoh Networks, Inc., 586 F.
  15 Supp. 2d 1132, 1151 (N.D. Cal. 2008). This element “presupposes some
  16 antecedent ability to limit or filter copyrighted material.” Tur v. YouTube, No.
  17 CV064436 FMC AJWX, 2007 WL 1893635, at *3 (C.D. Cal. June 20, 2007)
  18 (emphasis added). For instance, this Court held that Google lacked the right and
  19 ability to supervise infringing conduct because it could not “analyze every image
  20 on the [I]nternet, compare each image to all the other copyrighted images that exist
  21 in the world . . . and determine whether a certain image on the web infringes
  22 someone's copyright.” Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1174
  23 (9th Cir. 2007) (citing Perfect 10 v. Google, Inc., 416 F. Supp. 2d 828, 858 (C.D.
  24 Cal. 2006), affirmed in part and reversed in part on separate grounds in
  25 Amazon.com, Inc., 508 F.3d at 1146)).
  26         The SAC concludes that “Defendants exercise control over which images
  27 and posts are displayed and curated on Twitter” (SAC ¶ 136), but courts
  28 considering such bare allegations routinely find them insufficient. E.g., Waterman,
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   1 2024 WL 5413655, at *4 (rejecting allegation that “Defendant has the right and
   2 ability to control the infringing acts of its users yet declined or failed to stop its
   3 users from engaging in its infringing activity” as “bare, legally conclusory
   4 language that courts may not accept as true”); Michael Grecco Prods., 2025 U.S.
   5 Dist. LEXIS 46287, at *9 (similar conclusion). Even in Stross, where Twitter did
   6 not contest that the takedown notices complied with the DMCA, the court still
   7 dismissed vicarious infringement claims as “premised entirely on conclusory
   8 allegations.” 2022 WL 1843142, at *4.
   9         Second, Plaintiffs fail to allege that Twitter “derive[d] a direct financial
  10 benefit from the direct infringement” of the Photos. In re Long, 854 F. App’x 861,
  11 864 (9th Cir. 2021). Whether Twitter receives revenue or attracts users from other
  12 copyrighted works on its platform is irrelevant; Plaintiffs must plead that the
  13 allegedly infringing uses of the Photos benefited Twitter. Giganews, Inc., 847 F.3d
  14 at 674 (affirming dismissal of vicarious infringement claim where plaintiff
  15 “provides evidence that suggests only that some subscribers joined [defendant’s
  16 website] to access infringing material generally” but “does not proffer evidence
  17 showing that [defendant] attracted subscriptions because of the infringing
  18 [plaintiff-owned] material”); In re Long, 854 F. App’x at 864 (affirming dismissal
  19 of vicarious infringement claim where plaintiff “has not pleaded facts indicating
  20 that Facebook ‘derive[d] a direct financial benefit from the direct infringement’”).
  21         The SAC contains just a single, conclusory allegation that “[o]n information
  22 and belief . . . website traffic translates into substantial ill-gotten commercial
  23 advantage and revenue generation for Defendants as a direct consequence of their
  24 infringing actions.” SAC ¶ 29. This Court has found materially identical
  25 allegations by the same Plaintiffs insufficient. Waterman, 2024 WL 5413655, at *5
  26 (rejecting allegation that “[d]efendant has a direct financial interest in the profits
  27 from the infringing activity” through “increased traffic” as a “vague and
  28 conclusory statement [that] does not allege any relationship between the infringing
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   1 activity and the alleged increased traffic”). Here, like in Waterman, Plaintiffs “do[]
   2 not make any attempt to show how increased traffic establishes a financial interest
   3 or how this alleged infringement has created increased traffic” on Twitter’s
   4 platform. Id. Indeed, in Stross this Court rejected far more specific allegations of
   5 Twitter’s financial interests because they “[did] not establish any sort of plausible
   6 link between the photographs at issue and any financial benefit to Twitter.” Stross,
   7 2022 WL 1843142, at *4 n.2.
   8         In sum, Plaintiffs fail to state a claim for copyright infringement under any
   9 theory, and thus the SAC should be dismissed.
  10         B.     Many of Plaintiffs’ Claims Are Time-Barred by the Three-Year
  11                Statute of Limitations

  12         Plaintiffs’ claims regarding Photos 1, 4, 6, 8, 9, 10, 11, and 12 are all
  13 independently barred by the three-year statute of limitations. See 17 U.S.C.
  14 § 507(b) (“No civil action shall be maintained under the provisions of this title
  15 unless it is commenced within three years after the claim accrued.”) Plaintiffs
  16 commenced this action on June 10, 2024 (Dkt. 1), but each alleged infringement of
  17 those Photos occurred before June 10, 2021, more than three years earlier. See
  18 SAC ¶¶ 32, 54, 70, 76, 92, 100, 108, 115, 121, 128 (alleging that, for Photos 1, 4,
  19 6, 8, 9, 10, 11, and 12, “a Twitter user uploaded this Photo to Twitter” before June
  20 10, 2021)). Accordingly, Plaintiffs’ claims based on those Photos are time-barred.
  21         The SAC does not allege when Plaintiffs discovered the alleged
  22 infringements, let alone that it was not possible to discover them earlier with
  23 reasonable diligence such that tolling is warranted, so these claims are barred.
  24 Wasco Prods. v. Southwall Techs., Inc., 435 F.3d 989, 991 (9th Cir. 2006)
  25 (“federal courts have repeatedly held that plaintiffs seeking to toll the statute of
  26 limitations on various grounds must have included the allegation in their
  27 pleadings”); Fox v. Ethicon Endo-Surgery, Inc., 35 Cal. 4th 797, 808 (2005) (“[a]
  28 plaintiff whose complaint shows on its face that his claim would be barred without
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   1 the benefit of the discovery rule must specifically plead facts to show (1) the time
   2 and manner of discovery and (2) the inability to have made earlier discovery
   3 despite reasonable diligence”); Fodor v. AOL Time Warner, Inc., 217 F. App’x
   4 622, 623–24 (9th Cir. 2007) (adopting Fox). Unsurprisingly, this Court dismisses
   5 copyright claims where, as here, the date of the allegedly offending publication is
   6 outside the statute of limitations and no allegations support discovery rule tolling.
   7 Kuhmstedt v. Enttech Media Grp., LLC, No. 2:21-cv-10032-SVVV-JEM, 2022 WL
   8 1769126, at *5 (C.D. Cal. Apr. 11, 2022) (dismissing copyright claims as time
   9 barred because “from the face of the complaint . . . the limitations period has
  10 expired because Plaintiff has not provided any factual allegations that would
  11 support the application of the discovery rule”).
  12         In sum, Plaintiffs’ claims regarding Photos 1, 4, 6, 8, 9, 10, 11, and 12 are all
  13 barred by the three-year statute of limitations. As a result, even if Plaintiffs stated a
  14 claim for copyright infringement regarding those Photos (they do not), Plaintiffs’
  15 claims as to those Photos should be dismissed for the independent reason that they
  16 are time-barred.
  17 V. CONCLUSION
  18         Twitter respectfully requests that the Court grant this Motion for judgment
  19 on the pleadings without further leave to amend.
  20                                         Respectfully submitted,
  21
       Dated: June 20, 2025                  WILLENKEN LLP
  22
  23                                         By: /s/ Kenneth M. Trujillo-Jamison
                                                  Kenneth M. Trujillo-Jamison
  24                                              Attorneys for Defendant X Corp., in its
  25                                              corporate capacity and as successor in
                                                  interest to named defendant Twitter, Inc.
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   1                        CERTIFICATE OF COMPLIANCE
   2        The undersigned, counsel of record for X Corp., certifies that this brief
   3 contains 4,410 words, which complies with the word limit of L.R. 11-6.1.
   4
   5 Dated: June 20, 2025             WILLENKEN LLP
   6
                                       By: /s/ Kenneth M. Trujillo-Jamison
   7                                       Kenneth M. Trujillo-Jamison
   8                                       Attorneys for Defendant X Corp., in its
                                           corporate capacity and as successor in interest
   9                                       to named defendant Twitter, Inc.
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